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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA
                                 FIFTH DIVISION


UNITED STATES OF AMERICA,              )
THE STATE OF MINNESOTA, and            )
THE STATE OF WISCONSIN,                )
                                       )
                 Plaintiffs,           )
                                       )
                 v.                    ) Case No. 0:17-cv-02368-WMW-LIB
                                       ) Hon. Wilhelmina M. Wright
XIK, LLC,                              )
HONEYWELL INTERNATIONAL, INC.,         )
and DOMTAR, INC.,                      )
                                       )
                 Defendants.           )
_______________________________________)


                        UNITED STATES’ UNOPPOSED MOTION
                          FOR ENTRY OF CONSENT DECREE

       On June 29, 2017, the United States, the State of Minnesota, and the State of Wisconsin

filed a complaint [Dkt. 1] in this matter against XIK, LLC; Honeywell International, Inc.; and

Domtar, Inc. (collectively, the “Defendants”), pursuant to Section 107 of the Comprehensive

Environmental Response, Compensation, and Liability Act of 1980, as amended, 42 U.S.C.

§ 9607 (“CERCLA”), seeking recovery of damages for injury to, loss of, or destruction of natural

resources resulting from releases of hazardous substances by the Defendants into the

environment at the St. Louis River / Interlake / Duluth Tar Superfund Site (“SLRIDT Site” or

“Site”) located in Duluth, Saint Louis County, Minnesota and Douglas County, Wisconsin, and

recovery of their un-reimbursed costs of assessing such damages.

       On the same day, the United States filed a Notice of Lodging of Proposed Consent

Decree [Dkt. 2] with this Court and lodged a proposed Consent Decree [Dkt. 2-1] pending public
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notice and comment on the proposed Consent Decree and attached draft Restoration Plan /

Environmental Assessment (“RP/EA”). The 30-day period for public comment expired on

August 7, 2017. The United States did not receive any comments on the proposed Consent

Decree during the public comment period. The Trustees for natural resources received two

comments on the proposed RP/EA – both favorable. The United States continues to believe that

the proposed Consent Decree is fair, reasonable, and fully consistent with the purposes of

CERCLA.

       The United States now requests that the Court approve and enter the Consent Decree.


                                            Background

                        The St. Louis River / Interlake / Duluth Tar Site

       The SLRIDT Site is primarily located within the West Duluth neighborhood of the City

of Duluth, on the north bank of the St. Louis River, approximately four river miles upstream

from Lake Superior. The Site includes approximately 262 acres of land and river embayments,

wetlands, and shipping slips, including Stryker Bay. A small portion of the Site (approximately

1.4 acres) is within the State of Wisconsin. The SLRIDT Site has been used for industrial

purposes since at least the 1890s. Plaintiffs alleged in their Complaint that each of the

Defendants was a successor-in-liability to an entity that had engaged in industrial activity (iron

and/or tar production) at the Site during the first part of the 20th Century.

       Contaminated wastewater discharges from historic industrial activity were the primary

source of sediment contamination at the SLRIDT Site. In 1979, the Minnesota Pollution Control

Agency (“MPCA”) detected polynuclear aromatic hydrocarbon (“PAH”) compounds in Stryker

Bay sediments. PAHs are a group of carcinogenic and noncarcinogenic compounds formed

during the combustion of coal, oil, gas, wood, and other substances. At the SLRIDT Site, PAHs



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were generated as a by-product of high-temperature coking of coal, the distillation of crude tar,

and the production of manufactured gas. PAHs are hazardous substances under the State and

Federal Superfund laws.

         The SLRIDT Site was placed on the Minnesota Permanent List of Priorities (the State

superfund list) with MPCA acting as the lead cleanup agency. 1 The releases and threatened

releases of hazardous substances identified at the SLRIDT Site were grouped into three Operable

Units (“OUs”) for purposes of conducting investigation and response actions: the Tar Seeps OU,

the Soils OU, and the Sediments OU. The Tar Seeps OU and Soils OU were addressed by the

Defendants during the 1990s. The Sediments OU included approximately 450,000 cubic yards

of sediment that exceeded MPCA standards for sediment quality. In 2004, MPCA-issued a

Record of Decision (“ROD”) setting a dredge/capping hybrid as the remedial action to address

the sediment contamination. Following a pilot capping project conducted in 2004, further

remedial action took place from 2006 to 2011 to implement the 2004 ROD. Some remedial

work continues today at the various Site OUs to address more recently identified contamination.


                                                 NRDA Activity

         Under the authority of CERCLA and the Clean Water Act, the United States Department

of the Interior (“DOI”) has issued natural resource damage assessment and restoration

(“NRDAR”) regulations to guide trustees for natural resources in the evaluation of natural

resource injuries and assessment of damages necessary to restore, replace, or acquire the

equivalent of natural resources to a condition where they can provide the level of services


1
  In 1983, U.S. EPA evaluated the SLRIDT Site and the St. Louis River/U.S. Steel site (located on the St. Louis
River an additional four river miles upriver from the SLRIDT Site) and added them as a single site to the National
Priorities List (“NPL”). The federally listed site is referred to as the St. Louis River/Interlake/U.S. Steel site.
Although the two sites are listed as one on the NPL, they are listed separately on the Minnesota Permanent List of
Priorities.


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available at baseline. See 43 C.F.R. Part 11. The trustees for natural resources at the SLRIDT

Site are the National Oceanic and Atmospheric Administration (“NOAA”), DOI, the Minnesota

Department of Natural Resources (“MDNR”), MPCA, the Wisconsin Department of Natural

Resources, the Fond du Lac Band of Lake Superior Chippewa, and the 1854 Treaty Authority

(governed by the Bois Forte and Grand Portage Bands of Lake Superior Chippewa) (collectively,

the “Trustees”).

        In compliance with the DOI NRDAR regulations, the Trustees have evaluated site data,

assessment data, and applicable reports and published studies, and determined that natural

resources have been exposed to hazardous substances released from industrial facilities at the

SLRIDT Site. The Trustees have further determined that select categories of natural resources

have been injured as defined by the regulations, and that these injuries resulted in distinct losses

of ecological services, recreational fishing opportunities, as well as tribal use and cultural

services. The Trustees and/or their technical representatives subsequently met, consulted, and

conferred with the Defendants to discuss natural resource injury data and potential restoration

projects at the Site.


                        The Restoration Plan and Environmental Assessment

        The Trustees then developed the draft RP/EA that is an attachment to the proposed

Consent Decree. The purpose of the RP/EA is to describe how the Trustees will utilize the funds

obtained through the proposed resolution of claims for natural resource damages for the

restoration of natural resources and services injured by the release of hazardous substances at the

SLRIDT Site.

        Consistent with the NRDAR regulations and the National Environmental Policy Act, the

Trustees evaluated a suite of alternatives for conducting the type and scale of restoration



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sufficient to compensate the public for natural resource injuries and service losses. Based on

selection factors including location, technical feasibility, cost effectiveness, provision of natural

resource services similar to those lost due to contamination, and net environmental

consequences, the Trustees identified a preferred alternative: the Trustees would conduct shallow

sheltered embayment enhancement/restoration at Kingsbury Bay, which includes recreational

access and cultural education opportunities; implement watershed protection at Kingsbury Creek;

and restore wild rice in the St. Louis River estuary.

       Kingsbury Bay is a 70-acre shallow sheltered embayment adjacent to, but separate from,

the SLRIDT Site. It is a focus area for ecological, cultural, and recreational restoration under the

Trustees’ preferred alternative. This area has experienced sedimentation due to erosion problems

on Kingsbury Creek, that are adversely impacting the ecological services provided by Kingsbury

Bay, eliminating aquatic habitat, and encouraging the growth of monotypic stands of cattail

within the bay. Together, the Kingsbury Bay and Kingsbury Creek projects would develop and

protect open water habitat; create access and recreational opportunities to the bay; create

opportunities for wild rice regeneration; and protect the Kingsbury Bay restoration by reducing

sediment washing into the bay from Kingsbury Creek. In addition, wild rice restoration would

be implemented in areas slated for wild rice restoration under the Wild Rice Restoration

Implementation Plan for the St. Louis River Estuary. This wild rice restoration would be

conducted in collaboration with cultural educational opportunities, such as constructing displays

that communicate the importance of wild rice to the health of the St. Louis River estuary and

maintaining the cultural traditions of local tribes.




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                                   Proposed Consent Decree

       Under the proposed Consent Decree, Defendants will pay $4.1 million within 30 days of

the Court’s approval of the Decree, followed by a second $4.1 million payment within one year

of that date. Of the initial payment, $1,723,258 will be directed to DOI, NOAA, and Minnesota

to reimburse past assessment costs. The remainder of the first payment and the entirety of the

second payment will be placed in DOI’s NRDAR Fund to fund the projects identified in the

RP/EA.


                         Public Comments and Finalization of RP/EA

       In its Notice of Lodging of Consent Decree [Dkt. 2], the United States advised the Court

that, in accordance with the procedures set forth in CERCLA Section 122(d)(2) and 28 C.F.R.

§ 50.7, the public would be provided an opportunity to comment on the proposed Consent

Decree and that after the conclusion of the public comment period, the United States would

either notify the Court of its withdrawal of consent to the proposed settlement agreement or

move this Court to enter the Decree.

       The United States published notice of the proposed Consent Decree and draft RP/EA in

the Federal Register on July 6, 2017. 82 Fed. Reg. 31351. No comments were submitted by the

public on the proposed Consent Decree during the 30-day public comment period. Two

comments were submitted on the draft RP/EA. The Minnesota Land Trust submitted a positive

comment stating that it “supports the draft RP/EA as published.” Ms. Carol Reschke of the

University of Minnesota Duluth, Natural Resources Research Institute likewise provided a

supportive comment, stating that she believes the “three restoration projects [in the draft RP/EA]

will be an excellent way to utilize funding from the SLRIDT NRDAR towards the goal of

restoring fish and wildlife habitat in the St. Louis River estuary.” Ms. Reschke also noted the



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importance of a thorough monitoring plan for the restoration projects, which the Trustees will

develop in each project’s work plan consistent with the monitoring framework described in the

RP/EA.

       Having reviewed the public comments on the draft RP/EA, the Trustees have now

prepared a draft Final RP/EA without making any substantive changes to the preferred

alternative identified in the document. The draft Final RP/EA is attached as Exhibit 1 hereto. If

the Court approves and enters the Consent Decree, the Trustees will issue the attached draft Final

RP/EA as a Final RP/EA and will implement the preferred alternative described in the document.

The public comments are included in full at Appendix F to the RP/EA and addressed in Chapter

8: Public Comments and Trustee Responses. See Ex. 1 at 81 and F2-F5. Following its review of

the comments received, the United States continues to believe that the proposed Consent Decree

(and attached RP/EA) are fair, reasonable, and fully consistent with the purposes of CERCLA.


                          Court Review of Proposed Consent Decree

       The legislative history establishes that a court’s role in reviewing a settlement under

CERCLA is to “satisfy itself that the settlement is reasonable, fair, and consistent with the

purposes that CERCLA is intended to serve.” United States v. Cannons Eng’g Corp., 899 F.2d

79, 85 (1st Cir. 1990), quoting H.R. Rep. No. 253, 99th Cong., 1st Sess., Pt. 3, at 19 (1985); see

also United States v. George A. Whiting Paper, 644 F.3d 368, 372 (7th Cir. 2011) (“[T]he district

court must approve a consent decree if it is reasonable, consistent with CERCLA’s goals, and

substantively and procedurally fair.”); United States v. Hercules, Inc., 961 F.2d 796, 800 (8th

Cir. 1992) (“[D]istrict court reviews a proposed consent decree for fairness, reasonableness, and

adequacy.”). This standard of review is consistent with the standard of review that pertains to

settlements generally. See Grunin v. International House of Pancakes, 513 F.2d 114, 123 (8th



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Cir. 1975) (settlements must be “fair, reasonable, and adequate”); Van Horn v. Trickey, 840 F.2d

604, 606 (8th Cir. 1988) (same).

       There is a presumption in favor of voluntary settlements. United States v. AKZO

Coatings of America, 949 F.2d 1409, 1436 (6th Cir. 1991). And the policy encouraging

settlements “has particular force where, as here, a government actor committed to the protection

of the public interest has pulled the laboring oar in constructing the proposed settlement.”

Cannons, 899 F.2d 79, 84, citing F.T.C. v. Standard Financial Management Corp., 830 F.2d

404, 408 (1st Cir. 1987). In making its determination regarding a proposed settlement, the Court

should “pay deference to the judgment of the government agency which has negotiated and

submitted the proposed judgment.” Securities & Exchange Comm’n v. Randolph, 736 F.2d 525,

529 (9th Cir. 1984); see also George A. Whiting Paper, 644 F.3d at 372.

       The settlement set forth in the proposed Consent Decree is consistent with the criteria set

forth above.

                                             Argument

A.     The Consent Decree Is Fair, Reasonable, and Consistent With Statutory Goals

       1.      The Consent Decree Is Fair.

       In determining whether a proposed settlement is fair, a court need only ascertain whether

the terms of the proposed consent decree reflect a reasonable compromise of the litigation. See

United States v. Montrose Chem. Corp., 50 F.3d 741, 747 (9th Cir. 1995). As part of this

analysis, courts consider “the strength of the plaintiffs’ case, the good faith efforts of the

negotiators, the opinions of counsel, and the possible risks involved in litigation if the settlement

is not approved.” United States v. Hooker Chem. & Plastics Corp., 607 F. Supp. 1052, 1057

(W.D.N.Y. 1985), aff’d, 776 F.2d 410 (2d Cir. 1985). Here, the settlement embodied in the




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Consent Decree is the result of good-faith, arms-length bargaining between attorneys for the

Plaintiffs and Defendants. After a careful analysis of the strengths and risks of litigation, the

Parties arrived at a settlement that appropriately estimates costs associated with conducting

projects to restore or replace natural resources injured, lost, or destroyed by releases of PAH

compounds to the River. In exchange, Defendants obtain resolution of the matter and avoid

costly litigation of the Plaintiffs’ claims.

        The fairness of the proposed Consent Decree is also inherent in the process by which the

settlement was reached. The Parties engaged in extensive negotiations over the course of a

number of years, which were carried out in face-to-face meetings as well as conference calls.

They exchanged several letters and consent decree drafts. Throughout these negotiations,

Defendants were represented by experienced counsel well-versed in environmental law and

procedure.

        The proposed Consent Decree reflects the Parties’ careful and informed assessment of the

relative merits of each other’s claims and defenses, while taking into consideration the costs and

risks associated with litigating what would be a complex case. Avoiding litigation benefits all

Parties and spares the resources of the Court. See Cannons, 899 F.2d at 90 (“all too often,

litigation . . . can squander valuable resources”). Not only the Parties, but also the public gains

from the “saving of time and money that results from the voluntary settlement of litigation.”

Citizens for a Better Environment v. Gorsuch, 718 F.2d 1117, 1126 (D.C. Cir. 1983).

        The settlement also embodies a measure of compromise on the part of both sides. As

with any fair settlement, the Parties benefit from the immediate resolution of the asserted claims

and defenses, while foregoing the opportunity to seek unmitigated victory. See E.E.O.C. v.

Hiram Walker & Sons, Inc., 768 F.2d 884, 889 (7th Cir. 1985); Officers for Justice v. Civil Serv.




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Comm’n, 688 F.2d 615, 624 (9th Cir. 1982) (“Naturally, the agreement reached normally

embodies a compromise; in exchange for the saving of cost and elimination of risk, the parties

each give up something they might have won had they proceeded with litigation”).

        2.      The Consent Decree Is Reasonable.

        The “reasonableness” of a Consent Decree may be determined in light of whether it is

technically adequate, fully compensates the public for the alleged violations, and takes into

consideration the risks of litigation. See United States v. Telluride Co., 849 F. Supp. 1400, 1402-

03 (D. Col. 1994). When determining whether a settlement is reasonable, “the decree’s likely

efficaciousness as a vehicle for cleansing the environment is of cardinal importance.” Cannons,

899 F.2d at 89. The proposed Consent Decree is more than technically adequate in that it

contains specific, tailored relief in the attached RP/EA that addresses the natural resources

injured, destroyed, or lost as a result of the releases of hazardous substances alleged in the

Complaint. Moreover it addresses these impacted natural resources in a far shorter time than if

the Parties had litigated the action.

        3.      The Consent Decree Is Consistent With Relevant Statutory Goals.

        Another role of a court reviewing an environmental settlement submitted by the United

States is to determine “whether the Decree comports with the goals of Congress.” Sierra Club v.

Coca-Cola Corp., 673 F. Supp. 1555, 1556 (M.D. Fla. 1987). The primary objective of

CERCLA’s natural resource damages provisions is to restore, replace, or acquire the equivalent

of natural resources that have been injured, destroyed, or lost. See 42 U.S.C. § 9607(f)(1). The

Consent Decree furthers these statutory goals by addressing, without litigation delays or costs,

the natural resources lost at the SLRIDT Site.




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       B.      The Public Comments Support Entry of the Consent Decree

       In its Notice of Lodging of Consent Decree (Dkt. 2), the United States advised the Court

that, in accordance with the procedures set forth in Paragraph 89 of the proposed Consent

Decree, the public would be provided an opportunity to comment on the proposed Consent

Decree and the United States would then either notify the Court of its withdrawal of consent to

the proposed settlement agreement or move this Court to enter the Decree.

       The United States published notice of the proposed Consent Decree and 30-day public

comment period in the Federal Register on July 6, 2017. 82 Fed. Reg. 31351. During the

comment period, the United States did not receive any comments on the proposed Consent

Decree, while the Trustees received two comments on the RP/EA. Both comments were

favorable and supported implementation of the preferred alternative set out in the draft RP/EA.

Nothing in the public comments received leads the United States to alter its conclusion that the

Consent Decree is fair, reasonable, and in the public interest.


                                            Conclusion

       The settlement embodied in the Consent Decree constitutes the United States’ best efforts

to resolve this case fully and fairly in a manner consistent with the interests of the public. The

United States continues to believe that the proposed Consent Decree is fair, reasonable,

consistent with the purpose of CERCLA, and in the public interest. Minnesota and Wisconsin do

support entry of the proposed Consent Decree. Pursuant to Paragraph 34 of the Decree,

Defendants have consented to its entry.

       THEREFORE, the United States respectfully requests that the Court enter the proposed

Consent Decree.




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Dated: September 29, 2017

                                        Respectfully submitted,

                                        UNITED STATES OF AMERICA

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                             CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing United States of America’s
Unopposed Motion to Enter Consent Decree was filed electronically. Notice of this
filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt. All other parties will be served by U.S. mail.
Parties may access this filing through the Court’s system.


             9/29/17                                     /s Jeffrey A. Spector
              Date                                       Jeffrey A. Spector




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